

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS








NO. PD-0965-13






DEAGOBETO OSEGUERA-GARCIA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTH COURT OF APPEALS


BEXAR COUNTY





    Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 
9.4(i)(2)(D) because the petition exceeds the proper page limits.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: October 30, 2013

Do Not Publish


